Case: 23-1190, Document: 7, Filed: 12/27/2023 Page 1 of 4 Sissy i = VED

ra
cy Pra Clerk

OF THE NINTH CiRGUEE

DEC 27 2025
UNITED STATES BANKRUPTCY APPELLATE PANEL.

FOR THE NINTH CIRCUIT a
FOR THE NINTH CIRCUIT DOCKETED
DATE INITIAL
Ine: _ Brenda MJohnson BAP Number: _15-41795-BDL
(Debtor’s Name)

Brenda M Johnson Bk. Number:_03-40644-BDL

Appellant’s Name Brenda M Johnson
v. Adv. Number:_23-04031-bdl. Chapter 7
Albertsons companies, Amazon , Adverse actions

EQUIFAX, Emerald Queen Casino, State of Washington, et, al
Appelice’s Name

INFORMAL BRIEF OF Brenda Johnson
(Your name)

, Wha i document are VOU apy sealing? Dkt 82 Dkt 96 order dkt 99, Dkt 163 to dkt 165 orders
Notice of Appa and Statement of Hehe Re: BCinternal Appeal No: 23-T002. Fee Due § 298 (Related
document(s)82, 96, 99). Filed by Brenda M Johnson, Record Transmission due by 12/15/2923, (CMK) (Entered:
1 }i9hdsg Name of the bankruptcy court order or judgment you are appealing:

United States Bankruptcy Court of Western Washington Orders

List the date of the order or judgment you are appealing:
Dkt 163 to dkt 165 orders filed ~ 12/73/2023 for hearing done on 72/13/2023 at 9:00 am
November 8, 2023 hearing case number given ww-23-1190 and ww-23-1195 but shown different name

2. What are the facts of your case? Please describe:

On September 1, 2023 a sormmons and complaint was mailed to Defendants which took adverse actions against Ms.
Brenda M Johnson such as wages, money's out of banking accounts stopping of housing, personal inuries by
intentional attacks and personal property without consequences or remidies such as enforcement. The Defendants
were affiliated in connection by chapter 7, 03-40644-bdl. When a clerk of the court sent my ex-husband notice of tl
bankruptcy Charpter7 Pierce County Superior Court administration along with my husband attached me financially
and physically,

Ms Johnson had reported incidents to the police department without actions when a protection order was in placed

and witnessed by a Pierce county employee and former neighbor named Sandra Oliver.
Unlawful actions occurred by the changing of the court certificate of service to Terry Lee Rembert named in

pleading Harry Rembert. Johnson later started employment with the judiciary department of WSDOT and became
whistle blower. The Defendants had not responded and made personal attacks on me without prosecution and
failure to report once notified by Ms Johnson. in which caused damages by non-compliance of the law and
negligence actions. The Defendants had not responded to any of the complaints given in which is an affirmation of
guilt in a court of law . They have failed to return property owed nor gave Johnson legal rights for a jury demand
trial of her peers dkt 42 case 23-04031- bdl chapter 7. Cont... Pages objection and reply 1 thr 12 attached

4
Case: 23-1190, Document: 7, Filed: 12/27/2023 Page 2 of 4

3. What did you ask the bankruptcy court to do?

Request application entry clerk judgment default dkt 16 , again on dkt 36
On dit 42 and dkt 43 evidence supporting documents demand jury on issues

10/17/2023 45
(5 pgs) Miscellaneous Document. (Entry of Default) Filed by Brenda M Johnson . (Related documeni(s)36 Motion fo
Default). (MT) (Entered: 10/18/2023)
10/18/2023 46
(10 pgs) Miscellaneous Document. (Entry of Default) Judgement by Default) Filed by Brenda M Johnson (Related
document(s)36 Motion for Default). (MT) (Entered: 10/18/2023)
10/18/2023 a7
(1 pg) Courtesy NEF Request Not applicable, Not ECF Participant . Filed by Brenda M Johnson . (MT) (Entered:
10/18/2023)
40/18/2023 48
(6 pgs) DOCKETED IN ERROR - Incorrect Event Notice of Hearing (Related document(s)41 Motion). The Hearing date
set for 11/8/2023 at 09:00 AM at Judge Lynch's Courtroom |, Union Station. Response due by 11/1/2023. Filed by Brend.
M Johnson (MT) Modified on 10/19/2023 (MT). (Entered: 10/18/2023)
After prejudice and bias occurred violation of seventh amendment the request for appeals to Bankruptcy Court panel.
4, What issues are you raising on appeal? What do you think the bankruptcy
court did wrong?
1. Did the respondents answer the Summons and Cornplaint ?
2, Was Brenda M Johnson treated differently from State and federal Bankruptcy laws?
3, Was Brenda M Johnson denied federal protection?
4, Was Brenda M Johnson rights taken away?
Brenda M Johnson believed that enforcement of payment for damages $199,000,000,000,000, and Contempt
should have been paid if not the issues should have been sent to trial by a jury of Brenda M Johnson peers.
The Judge should of removed himself under 28 usc 455 . Otherwise, Judgement by law should of been grante
Remand the case back to enforce hearing on evidence supporting documents and

A motion for judgment as a matter of law may be made at any time before the case is submitted to the jury.
The motion must specify the judgrnent sought and the law and facts that entitle the movant to the judgment.

(b) Renewing the Motion After Trial; Alternative Motion for a New Trial. If the court does not grant a motion
for judgment as a matter of law made under Rule 50(a), the court is considered to have submitted the actior
to the jury subject to the court's later deciding the legal questions raised by the motion. No later than 28 day
after the entry of judgment—or if the motion addresses a jury issue not decided by a verdict, no later than 2
days after the jury was discharged—the movant may file a renewed motion for judgment as a matter of law
and may include an alternative or joint request for a new trial under Rule 59. In ruling on the renewed
motion, the court may:

(1) allow judgment on the verdict, if the jury returned a verdict;

(2) order a new trial; or

(3) direct the entry of judgment as a matter of law a) Judgments. Rule 54(a)~-(c) FR.CivP. applies in adversal
proceedings. (b) Costs; Attorney's Fees. (1) Costs Other Than Attorney's Fees. The court may...

5
Case: 23-1190, Document: 7, Filed: 12/27/2023 Page 3 of 4

5. Wid you present all the issues you listed in #4 to the bankruptcy court?
Yes: xX

No: _

If not, why?

6. What law supports your argument in this appeal?

YES
Case: 23-1190, Document: 7, Filed: 12/27/2023 Page 4 of 4

7. List any other cases you have pending in this court by BAP case number:

None

8. List any other current cases you have that could affect this appeal (such as
any matters now at the bankruptcy court, district court, or the court of
appeals):

9, Do you want to have oral argument before three BAP judges? Check one:
Yes: Xx

No:

CERTIFICATE OF SERVICE:

I certify that a copy of this brief and all attachments was served,

check one: _X or on the persons listed below:
ECF in person by mail
Name Address Date Served

Clark 1717 Pacific Ave Tacoma WA

Sign your name: Frond | | ‘

Print your name: Brenda M Joh fon

12/19/2023

